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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                NORFOLK DIVISION


 IN RE ZETIA (EZETIMIBE) ANTITRUST
 LITIGATION


 Related Cases:                                           MDL No. 2:18-md-2836
FWK Holdings, LLC v. Merk & Co., Inc. et al,
2:18-cv-00023-RBS-DEM
                                                          Direct Purchaser Class Action
and
Cesar Castillo, Inc. v. Merck & Co., Inc., et al,
2:18-cv-00039-RBS-DEM
and
Rochester Drug Cooperative, Inc. v. Merck &
Co., Inc., et al, 2:18-cv-00071-RBS-DEM



                     DIRECT PURCHASER CLASS PLAINTIFFS’
                   MOTION FOR CONSOLIDATION, COORDINATION,
                      AND APPOINTMENT OF CLASS COUNSEL

       In accordance with Federal Rules of Civil Procedure 23(g)(1) and 23(g)(3), counsel for

the direct purchaser plaintiffs in FWK Holdings, LLC v. Merck & Co., Inc., 18-cv-0023-RBS-

DEM (E.D.Va), Cesar Castillo, Inc. v. Merck & Co., Inc, 18-cv-0035-RBS-DEM (E.D. Va.), and

Rochester Drug Co-Operative, Inc. v. Allergan, Inc., 18-cv-00108-RBS-DEM (E.D.Va.) (the

“direct purchaser class actions”) hereby move for an order (1) consolidating the direct purchaser

class actions, (2) coordinating the direct purchaser class actions with the end payer class actions

and the action filed on behalf of retailer plaintiffs to the extent practicable, (3) appointing local

counsel, lead counsel, an executive committee for the direct purchaser class actions and (4)

appointing class counsel for the proposed direct purchaser class pursuant to Rule 23(g).




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       In support of this motion, the direct purchaser class plaintiffs file herewith a

memorandum of law and a proposed order.

 Dated: July 2, 2018                             Respectfully submitted,

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 Counsel for Rochester Drug Cooperative, Inc. and the Proposed Direct Purchaser Class




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on July 2, 2018, I electronically filed the foregoing with the Clerk of
the Court using the CM/ECF system, which will send a notification of such filing (NEF) to all
counsel of record who have made a formal appearance.

Dated: July 2, 2018                                   /s/ William H. Monroe, Jr.
                                                      William H. Monroe, Jr. (VSB No. 27441)




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